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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

CHERYL COMPTON, et al.,       )
                              )
           Plaintiffs,        )
                              )                     No. 4:11-CV-01975 CEJ
v.                            )
                              )
ST. LOUIS METROPOLITAN POLICE )
DEPARTMENT, et al.,           )
                              )
           Defendants.        )

                             ENTRY OF APPEARANCE

       COMES NOW Associate City Counselor Donald G. Dylewski and hereby enters

his appearance as counsel of record for Defendant City of Saint Louis, Missouri.

                                            Respectfully submitted,
                                            PATRICIA A. HAGEMAN
                                            CITY COUNSELOR

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Case: 4:11-cv-01975-CEJ Doc. #: 9 Filed: 11/14/11 Page: 2 of 2 PageID #: 38



                                 Certificate of Service

       I hereby certify that on November 14, 2011, the foregoing was electronically filed
with the Clerk of the Court to be served by operation of the Court’s electronic filing
system upon:

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                                            /s/ Donald G. Dylewski




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